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UNITED STATES DISTRICT COURT                                        SOUTHERN DISTRICT OF TEXAS


                   Motion and Order for Admission Pro Hac Vice

      Division          Houston                              Case Number             4:94-cr-00121

                                          United States of America


                                                    versus
                                                Adams et al



           Lawyer’s Name                  Calyssa Zellars, Esq.
                Firm                      The Decarceration Collective Law Office
                Street                    1325 S. Wabash Street Suite 305
          City & Zip Code                 Chicago, IL 60605
         Telephone & Email                312-971-8379
      Licensed: State & Number            MI P82634
       Federal Bar & Number


 Name of party applicant seeks to                               Darrell Wayne Adams
 appear for:


                                                                                  ✔
 Has applicant been sanctioned by any bar association or court? Yes _______ No ________

 On a separate sheet for each sanction, please supply the full particulars.


 Dated:       10/4/2021         Signed:



 The state bar reports that the applicant’s status is:


 Dated:                         Clerk’s signature



               Order
                                                    This lawyer is admitted pro hac vice.

Dated:
                                                             United States District Judge
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